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                                         February 9, 2023

 VIA ECF
 The Honorable Cathy L. Waldor
 Martin Luther King Jr. Courthouse
 50 Walnut Street, Room 4040, Courtroom 4C
 Newark, NJ 07101

        RE:    Sun Chemical Corporation v. American International Group, Inc., et al.
               Docket No.: 2:20-cv-6252-SRC-CLW
               MDMC File No.: A0014-1743

 Dear Judge Waldor:

       This firm represents Defendants American Home Assurance Company and National
 Union Fire Insurance Company of Pittsburgh, PA, in its own right and as successor-in-interest to
 Landmark Insurance Company, (“Defendants”), in the above-captioned matter filed by Sun
 Chemical Corporation (“Plaintiff”).

       Pursuant to the case management conference before the Court on October, 26, 2022,
 Defendants and Plaintiff jointly submit the enclosed proposed Fifth Amended Pretrial
 Scheduling Order.

        Thank you.

                                                       Very truly yours,

                                    MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                                    /s/ Laurence McHeffey
                                                     Laurence McHeffey, Esq.
                                                     Lydia K. Deutsch, Esq.

 cc: All Counsel of Record (via ECF Notification)
